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                          EXHIBIT 2
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           UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS

   PETER BARBARA and JOHN DREW,                                     HOUSTON DIVISION

  versus                                              CIVIL ACTION No. 4:22-CV-003340

   MCGRIFF INSURANCE SERVICES, INC.,                        PLAINTIFF'S WITNESS LIST
   LIST OF: PLAINTIFF                                  COUNSEL: JAY ALDIS (GRAY REED)
   TYPE OF HEARING: TMAL
   JUDGE:                     CLERK:                  REPORTER:
   ANDREW S.HANEN             RHONDA HAWKINS

   No.                                         NAME OF WITNESS

   1.      John Drew

           c/o Plaintiffs counsel

           Anticipated to testify regarding his claims and allegations in this lawsuit.

   2.      Peter Barbara

           c/o Plaintiffs counsel

           Anticipated to testify regarding his knowledge of the Program, his work at McGriff,
           and explanations by McGriffofwhy he was excluded from the Program.




           Tommy Ebner


           (713)449-1227
           Anticipated to testify regarding Drew and Barbara's exclusion from the Program
           (including being told by Brace Dunbar why he determined they would not be in the
           Program), and the efforts of Ebner and/or others to have Drew included in the Program
           and/or receive a loan from the Program.




           Christina Bailey

           Current McGriff employee; c/o Defense counsel

           Anticipated to testify regarding McGriffs explanations for Drew and Barbara not being
           selected to participate in the Program, includmg in correspondence to the Equal
           Employment Opportunity Commission.




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   Case 4:22-cv-03340         Document 36-2       Filed on 12/28/23 in TXSD       Page 3 of 13




   5.      Bruce Dunbar

           3025 Cherokee Road
           Birmingham, AL 35223
           (205) 969-0913

           Anticipated to testify regarding McGrifTs implementation of the Program, why Drew
           and Barbara were excluded from the Program, and his communications with McGriff
           personnel about the exclusion of Drew and Barbara.



   6.      Doug Hodo

           Current K/IcGriff employee; c/o Defense counsel

           Anticipated to testify regarding his knowledge of the Program, McGriffs criteria for
           selecting producers to receive discretionary forgivable loans under the Program, his
           knowledge of why Drew and/or Barbara were not selected for the Program, and his
           efforts to have Drew and/or Barbara included in the Program and/or receive a loan from
           the Program.




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                                                   Respectfully submitted,


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                                                   ATTORNEYS FOR PLAINTIFF
                                                   JOHN DREW




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of December 2023, a copy of the foregoing

document was served on counsel of record by the Cq^Ft\ electroiyfe filing system.
 Case 4:22-cv-03340             Document 36-2         Filed on 12/28/23 in TXSD           Page 5 of 13




           UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS

  PETER BARBARA and JOHN DREW,                                       HOUSTON DIVISION

  versus                                               CIVIL ACTION No, 4:22-CV-003340

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  TYPE OF HEARING: TRIAL
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   4.      Christina Bailey
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Case 4:22-cv-03340           Document 36-2       Filed on 12/28/23 in TXSD         Page 6 of 13




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Case 4:22-cv-03340        Document 36-2        Filed on 12/28/23 in TXSD          Page 7 of 13




                                                 Respectfully submitted,




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                                                 ATTORNEYS FOR PLAINTIFF
                                                 JOHN DREW




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           UNITED STATES DISTRICT COURT                       SOUTHERN DISTRICT OF TEXAS

  PETER BARBARA and JOHN DREW,                                      HOUSTON DIVISION

  versus                                               CIVIL ACTION No. 4:22-CV-003340

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Case 4:22-cv-03340             Document 36-2         Filed on 12/28/23 in TXSD            Page 11 of 13




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  PETER BARBARA and JOHN DREW,                                      HOUSTON DIVISION

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